4:06-cr-03027-SMB-JMD         Doc # 216    Filed: 06/16/10    Page 1 of 1 - Page ID # 768


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:06CR3027
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
RUBEN DARIO NUNEZ,                           )
                                             )
                     Defendant.              )


        IT IS ORDERED that the motion to exonerate appearance bond (filing 215) is granted
to the extent that the Clerk of Court is directed to refund the bond proceeds to Johnson and
Mock Law Firm.

       Dated June 16, 2010.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
